Case 5:19-cv-00528-JSM-PRL Document 23-5 Filed 03/31/20 Page 1of1PagelD 139

AO 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

for the
Middle District of Florida
MICHAEL MARANDA )
v. Case No.: 5:19-CV-00528-JSM
HASH DEPLOY, INC. and DOUGLAS SHOOK
BILL OF COSTS

Judgment having been entered in the above entitled action on 02/27/2020 against | HASH DEPLOY, INC. 5
the Clerk is requested to tax the following as costs: pa
Fees of the Clerk... 0... cee cc ccc cence erence eee beeen eres teen eee eeenaenes $
Fees for service of summons and subpoena ............. 02 cece ccc eee cece ne eeestusvseuunes 400.00

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case... ...

Fees and disbursements for printing 0.2.22... 0.0 cece cc cece eee nee eneeen eee

Fees for witnesses (itemize on page WO)... occ ccc cence ete neces cesses tenceueaneuees 0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. 00.6... e ee eect eee eeennenes

Docket fees under 28 U.S.C. 1923 0.0... cee nec e ne eee ee eee euenenseseeees 20

Costs as shown on Mandate of Court of Appeals .......... 0.00 cece cece cece teen ee ee tenes

Compensation of court-appointed experts ........ 0... ccc ccc c ener e ee tee neeetenreeens

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....

Other costs (please itemize)... oc ee ee ne nee en eee rere eet baeepeteenenets

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

Declaration

1 declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

[J Electronic service First class mail, postage prepaid
T] Other:
s/ Attorney: yn 4 —_4—
Name of Attofaey: hn F. Marwick, Esq
For: Michael Maranda Date: 03/31/2020
Name of Claiming Party
Taxation of Costs
Costs are taxed in the amount of and included in the judgment.
By:

Clerk of Court Deputy Clerk Date
